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                                                                  following reasons, we find no merit to these arguments and
                        38 F.3d 1217                              affirm.
                  Unpublished Disposition
   NOTICE: THIS IS AN UNPUBLISHED OPINION.
(The Court's decision is referenced in a “Table of Decisions                                    I.
   Without Reported Opinions” appearing in the Federal
  Reporter. Use FI CTA6 Rule 28 and FI CTA6 IOP 206               Since none of the issues raised on appeal involve the facts
 for rules regarding the citation of unpublished opinions.)       leading to Ewing's arrest, they will not be discussed. Suffice
       United States Court of Appeals, Sixth Circuit.             it to say that on November 5, 1992, Columbus police officers
                                                                  arrested Ewing and charged him with offering to sell a
    UNITED STATES of America, Plaintiff–Appellee,                 controlled substance in violation of Ohio law. At that time
                       v.                                         state authorities detained Ewing at the Franklin County Jail.
       James L. EWING, Defendant–Appellant.
                                                                  Also on November 5, 1992, an ATF special agent caused a
                         No. 94–3010.                             criminal complaint to be filed against Ewing in the district
                                |                                 court. That same day a magistrate judge issued a warrant
                         Oct. 18, 1994.                           for Ewing's arrest, and the United States Marshal's Service
                                                                  lodged a federal detainer against Ewing at the County Jail.
On Appeal from the United States District Court for the
Southern District of Ohio, No. 93–00101; George C. Smith,         On November 13, 1992, the state drug charge against Ewing
District Judge.                                                   was dismissed. Thus, as of that date, Ewing was being held
Synopsis                                                          in the Franklin County Jail solely on the basis of the federal
                                                                  detainer. According to the district court, it appears that the
S.D.Ohio
                                                                  Franklin County Sheriff's Department was aware that the
                                                                  state charge had been dropped, but did not inform the federal
AFFIRMED.
                                                                  agency of this fact.
Procedural Posture(s): On Appeal.
                                                                  A federal grand jury initially indicted Ewing on December
Before: GUY and BATCHELDER, Circuit Judges; and                   17, 1992, 35 days after he was detained solely on the basis
McCALLA, District Judge. *                                        of the federal detainer. The indictment charged Ewing and
                                                                  Kevin Edwards with one count of conspiracy to distribute and
Opinion                                                           possess in excess of 5 grams of cocaine base, in violation

PER CURIAM.                                                       of    21 U.S.C. §§ 841(a)(1) and        841(b)(1)(B)(iii). As
                                                                  part of this count, Ewing and Edwards also were charged
*1 Defendant, James L. Ewing, was convicted of conspiracy         with possessing firearms to protect the cocaine base and the
                                                                  proceeds of the cocaine base distribution from others, in
to distribute cocaine base, in violation of     21 U.S.C. §
841(a)(1), and possession with intent to distribute in excess     violation of   21 U.S.C. § 846.

of five grams of cocaine base, in violation of      21 U.S.C.
                                                                  On December 31, 1992, Ewing filed a motion to dismiss the
§§ 841(a)(1) and       841(b)(1)(B)(iii). On appeal, Ewing        indictment, based on a violation of the Speedy Trial Act,
contends the district court erred (1) in dismissing an earlier    and requested an oral hearing. Without holding a hearing,
indictment without prejudice under the Speedy Trial Act,          the district court found that the filing of the detainer was
    18 U.S.C. §§ 3161 et seq.; (2) in not dismissing count 2 of   equivalent to an arrest on November 13, 1993, “because it
a later indictment on the grounds of vindictive prosecution;      was, at that time, the only basis for [Ewing's] continued
and (3) in sentencing him as a career offender pursuant to        incarceration.” (App. 84.) The court then held that a violation
                                                                  of the Act had occurred because Ewing was not indicted
   United States Sentencing Guidelines § 4B1.1. For the           until more than 30 days after his “arrest.” Exercising its




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discretion under 18 U.S.C. § 3162(a)(2), the court dismissed           second factor, the Court finds that this dismissal was caused
the indictment without prejudice.                                      by an unfortunate administrative oversight, and there is
                                                                       no indication or allegation of bad faith on the part of any
Ewing was reindicted on May 26, 1993. The new indictment               agency involved.
charged him with one count of conspiracy to distribute
                                                                       In connection with the third factor, defendant has proffered
cocaine base, in violation of         21 U.S.C. § 841(a)(1), which     evidence he argues demonstrates prejudice. After carefully
included a firearms charge brought under 21 U.S.C. § 846,              considering defendant's proffer, the Court finds that, given
and one count of possession with intent to distribute in excess        that the delay was relatively brief, defendant was not
                                                                       prejudiced thereby. The Court finds that the reprosecution
of five grams of cocaine base, in violation of       21 U.S.C. §§
                                                                       in this case would serve the ends of justice.
841(a)(1) and     841(b)(1)(B)(iii) and         18 U.S.C. § 2.
                                                                     (App. 84–85) (footnote omitted).
 *2 Ewing filed motions to dismiss the indictment based
upon prosecutorial vindictiveness and a speedy trial violation.      We agree with the district court's analysis. The first factor
Both of these motions were overruled.                                to be considered is the seriousness of the crime. Felony
                                                                     drug charges, such as those here, are generally treated as
A jury trial commenced on August 2, 1993. Three days                 serious offenses. See     United States v. Kottmyer, 961 F.2d
later, the jury returned a verdict finding Ewing guilty of both      569, 572 (6th Cir.1992). The second factor to be considered
counts. The court sentenced Ewing to 300 months in prison,           is the facts and circumstances that led to the dismissal. In
to be followed by four years of supervised release. The court        this case, the district court found the reason for the delay
also ordered Ewing to pay a special assessment of $100.              was an “unfortunate administrative oversight.” This is not
                                                                     an instance of prosecutorial bad faith or an attempt to take
                                                                     tactical advantage of a delay. “Where there is no affirmative
                                II.                                  misconduct by either party, the court's conclusion that this
                                                                     second factor authorizes dismissal with or without prejudice
Ewing's first assignment of error concerns the district
                                                                     is a matter within its discretion.” United States v. Pierce, 17
court's dismissal of the initial indictment without prejudice.
                                                                     F.3d 146, 149 (6th Cir.1994). The third factor to be considered
The decision to dismiss with or without prejudice for
                                                                     is the impact of a reprosecution on the administration of
noncompliance with the Speedy Trial Act is within the
                                                                     justice and on the administration of the Speedy Trial Act.
discretion of the district court. United States v. Taylor, 487       Because the delay was not purposeful and Ewing has not
U.S. 326, 336 (1988). The Act enumerates three factors that          shown that he was prejudiced by the delay, 1 this factor also
trial courts must consider when making this decision: (1) the
seriousness of the offense; (2) the facts and circumstances          favors dismissal without prejudice. See   United States v.
that led to the dismissal; and (3) the impact of reprosecution       Jones, 887 F.2d 492, 495 (4th Cir.1989), cert. denied, 493
on the administration of the Act and upon justice. 18 U.S.C.         U.S. 1081 (1990); United States v. Williams, 711 F.2d 748,
§ 3162(a)(2). A district court's judgment on how these               751 (6th Cir.), cert. denied, 464 U.S. 986 (1983). Therefore,
considerations balance “should not lightly be disturbed.”            we hold that the district court did not abuse its discretion by
   Taylor, 487 U.S. at 337.                                          dismissing the initial indictment without prejudice.


The district court, in a written order dismissing the case            *3 In Ewing's next assignment of error, he contends that
without prejudice, began its analysis by observing that it must      the second count of the later indictment should be dismissed
evaluate the three factors enumerated in the Speedy Trial            on the grounds of vindictive prosecution. According to
Act. The court's order went on to give the following specific        Ewing, the initial indictment charged him with one count of
reasons for its decision:                                            conspiracy to distribute cocaine base and named Edwards
                                                                     as a co-conspirator. Exercising his statutory right, he filed a
  With regard to the first factor, the offense, conspiracy to        motion to dismiss this indictment for a violation of the Speedy
  distribute more than five (5) grams of crack cocaine, with         Trial Act. The court sustained this motion and dismissed
  a firearm specification, is a very serious offense. As to the      the action without prejudice. He then was “reindicted for


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conspiracy to distribute cocaine base without any named co-            crime of violence or a controlled substance offense, and (3)
conspirator(s) and was charged in an additional count with             the defendant has at least two prior felony convictions of
possession with the intent to distribute cocaine base.” Ewing          either a crime of violence or a controlled substance offense.
maintains that this “new” possession charge resulted from
prosecutorial vindictiveness. We disagree.                           *4 U.S.S.G., Guidelines Manual,         § 4B1.1 (Nov. 1993). 2

The standard in this circuit for evaluating claims of                Section 4B1.2(1) and its commentary define “crime of
prosecutorial vindictiveness is “whether, in the particular          violence” as follows:
factual situation presented, there existed a ‘realistic likelihood
of vindictiveness' for the prosecutor's augmentation of the            (1) The term “crime of violence” means any offense under
                                                                          federal or state law punishable by imprisonment for a
charges.”          United States v. Andrews, 633 F.2d 449,
                                                                          term exceeding one year that—
453 (6th Cir.1980), cert. denied, 450 U.S. 927 (1981). In
determining whether a “realistic likelihood of vindictiveness”           (i) has as an element the use, attempted use, or threatened
exists, two factors must be weighed. First, the court must                  use of physical force against the person of another, or
determine the prosecutor's stake in deterring the exercise
of a defendant's rights. Second, the court must review the               (ii) is burglary of a dwelling, arson, or extortion, involves
prosecutor's actual conduct. If the court finds there is a                  use of explosives, or otherwise involves conduct that
“realistic likelihood of vindictiveness,” the government bears              presents a serious potential risk of physical injury to
                                                                            another.
the burden of disproving it.         Id. at 456.

                                                                        U.S.S.G. § 4B1.2(1). The November 1, 1993, version of
Here, nothing in the record indicates that the district
court was presented with any fact suggesting a “realistic            Application Note 2 to     section 4B1.2 states:
likelihood of vindictiveness” on the part of the prosecutor.
Although Ewing's successful motion for dismissal of the
initial indictment required some repetition of prosecutorial
efforts, in that it compelled the reindictment of Ewing, we                      “Crime of violence” includes murder,
do not believe this burden, viewed in this pretrial context,                     manslaughter, kidnapping, aggravated
was likely to elicit a vindictive response. Moreover, we have                    assault, forcible sex offenses,
examined the prosecutor's actual conduct and can find no                         robbery, arson, extortion, extortionate
evidence of vindictiveness. Accordingly, we find no merit to                     extension of credit, and burglary
this claim.                                                                      of a dwelling. Other offenses are
                                                                                 included where (A) that offense has
Ewing's third assignment of error is the district court's                        as an element the use, attempted use,
                                                                                 or threatened use of physical force
classification of him as a career offender under  U.S.S.G.
                                                                                 against the person of another, or (B)
§ 4B1.1. We review a district court's factual findings that
                                                                                 the conduct set forth (i.e., expressly
underlie the application of a guideline provision for clear
                                                                                 charged) in the count of which the
error.        United States v. Garner, 940 F.2d 172, 174 (6th                    defendant was convicted involved use
Cir.1991). However, whether those facts as determined by the                     of explosives (including any explosive
district court warrant the application of a particular guideline                 material or destructive device) or, by
provision is purely a legal question that we review de novo. Id.                 its nature, presented a serious potential
                                                                                 risk of physical injury to another.
   Section 4B1.1 provides that:                                                  Under this section, the conduct of
                                                                                 which the defendant was convicted is
  Career Offender                                                                the focus of inquiry. 3

  A defendant is a career offender if (1) the defendant was at
  least eighteen years old at the time of the instant offense, (2)
  the instant offense of conviction is a felony that is either a


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Ewing contends that the district court erred in counting his        212 (7th Cir.1994) (holding that attempted burglary under
1987 burglary conviction in Ohio as a crime of violence. The
                                                                    Illinois law is a violent felony under      § 924(e)(2)(B)(ii)),
question thus is whether this conviction falls under section        petition for cert. filed, 62 U.S.L.W. 3775 (U.S. May 11, 1994)
4B1.2(1)(ii), either because it was a burglary of a “dwelling,”
                                                                    (No. 93–9130);      United States v. Thomas, 2 F.3d 79, 90
or because it “otherwise involve[d] conduct that present[ed]
                                                                    (4th Cir.1993) (same under New Jersey law), cert. denied, 114
a serious potential risk of physical injury to another.” The
                                                                    S.Ct. 1194 (1994).
government maintains that Ewing's 1987 conviction qualifies
as a “burglary of a dwelling.” The district court, however,
                                                                    Based on the reasoning expressed in Lane, even if we were
classified Ewing's prior conviction as a crime of violence
                                                                    to assume that the burglary of an attached parking garage
because it found it posed a serious potential risk of injury to
others. Therefore, we will first review the district court's mode   does not meet     section 4B1.1's definition of “burglary of a
of analysis and examine Ewing's prior conviction under the          dwelling,” we believe Ewing's offense posed a great enough
“otherwise” clause, and only if we disagree with the court's        risk of physical injury to another to make it a crime of
finding on this matter will we consider the government's            violence. The garage that Ewing broke into was attached to a
position.                                                           large apartment building. Many people lived in that building
                                                                    and it was very likely that a resident, if not several, could
The details with respect to Ewing's 1987 burglary conviction        be in the garage at any given time. As the district court
are as follows. Ewing broke into a car that was parked in a         observed, “[t]he likelihood that a resident would walk by
secured, underground garage. The garage was attached to an          while [Ewing] was in the course of committing the burglary
apartment building, and to enter the garage one needed to use       was great.” (App. 104–05.) If, as a panel of this court has
a special key or had to enter the apartment building first. The     previously found, the attempted breaking and entering of a
apartment building also required a key or a resident to “buzz”      business place is a crime of violence under the “otherwise”
an individual inside. Apparently, Ewing was successful in           clause, then surely the burglary of an underground parking
getting a resident to “buzz” him into the building. The district    garage attached to a residential building also is one. See
court also noted that Ewing had used a knife to pry open               United States v. Fish, 928 F.2d 185 (6th Cir.), cert. denied,
windows and unlock the cars.                                        112 S.Ct. 115 (1991).

In     United States v. Lane, 909 F.2d 895 (6th Cir.1990),          Ewing's prior conviction also can be distinguished from
cert. denied, 498 U.S. 1093 (1991), this court concluded that       offenses that were not classified as crimes of violence because
attempted burglary in Ohio falls under the “otherwise” clause       they did not pose a risk of injury to others. In United States
                                      4                             v. Jackson, 22 F.3d 583 (5th Cir.1994), the court analyzed
of   18 U.S.C. § 924(e)(2)(B)(ii) because it is a “crime
which ‘involves conduct that presents a serious potential risk      the defendant's prior conviction for burglary under section
of physical injury to another.’ ” Land, 909 F.2d at 903. The        4B1.2(1). The court looked to the presentence report and
panel based its conclusion on the fact that the Ohio burglary       found that, while the defendant had not been convicted of
statute requires the actual or likely presence of a person in the   burglary of a dwelling, he had been convicted of burglary
burglarized structure. The court observed:                          of a building with intent to commit theft. More specifically,
                                                                    the court observed that the defendant had been caught in the
   *5 “The fact that an offender enters a building to commit a      backyard of a house that had been vacant for seven years
  crime often creates the possibility of a violent confrontation    in an attempt to take some parts from an air conditioning
  between the offender and an occupant, caretaker, or some          unit. The court, in rejecting the government's contention that
  other person who comes to investigate.” The fact that [the        “neighbors, passersby, or the owners were at risk,” found
  defendant] did not complete the burglary offense does not         that the presentence report “provides absolutely no facts upon
  diminish the serious potential risk of injury to another          which to base a conclusion that a serious potential risk of
  arising from an attempted burglary.
                                                                    physical injury was posed to anyone.”      Jackson, 22 F.3d at
Id. (citation and footnote omitted). For the same reasons,          585.
many other courts have classified attempted burglary as a
violent felony. See, e.g.,    United States v. Davis, 16 F.3d


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                                                                           Center's operations manager which
 *6 Similarly, in       United States v. Smith, 10 F.3d                    was burglarized.
724, 730 (10th Cir.1993), the Tenth Circuit was asked to
decide whether the defendant's 1989 second-degree burglary
conviction in California was a crime of violence. The court
                                                              (Citation omitted.) In holding that this offense was not a crime
summarized the details of the crime in question as follows:
                                                              of violence, the court observed that the office was locked
                                                              “and, therefore, obviously not part of a common living area
                                                              into which residents could enter at any time.” Id. at 734.
            Defendant removed a window screen
            and entered an office in a commercial             Jackson and Smith both stand for the proposition that, when
            building through an unlocked window.              an offense involves a low risk of confrontation between the
            Using a screwdriver, he pried the                 assailant and others, courts should be reluctant to classify
            lock off a file cabinet drawer,
            removed a cash box from the drawer,               such a crime as violent under            section 4B1.1.      See
            and exited the office. There is no                also     United States v. Talbott, 902 F.2d 1129, 1133 (4th
            indication that he was armed. The                 Cir.1990) (holding that two prior convictions for burglary of
            office was unoccupied and its door                commercial structures did not come within the ambit of a
            was locked at the time of the                     “crime of violence”). Here, however, there was a very high
            burglary. No confrontation with any               risk of confrontation and, because Ewing was in possession
            person occurred. A police report,                 of a knife, the potential for injury to another was even greater.
            apparently attached to the criminal               Accordingly, we find the district court did not err in holding
            complaint, set forth the facts described          that Ewing's 1987 state conviction for burglary was a crime
            above. The report also explained that
                                                              of violence for purposes of     section 4B1.2. 5
            the commercial building Defendant
            entered housed the Rouge Center, a
                                                              AFFIRMED.
            drug rehabilitation center providing
            outpatient and inpatient services,
            and that it was the office of the
                                                              All Citations

                                                              38 F.3d 1217 (Table), 1994 WL 577055




                                                       Footnotes


*      Honorable Jon P. McCalla, United States District Court for the Western District of Tennessee, sitting by
       designation.

1      In order to establish that he had been prejudiced, Ewing submitted his own affidavit. Ewing claims that his
       “prolonged” incarceration affected his ability to support his children, maintain employment, and prevented him
       from locating a material witness who would have provided exculpatory testimony. Given that his indictment
       was delayed by only five days, we do not believe these allegations alone are serious enough for us to disturb
       the district court's consideration of this factor.

2
       The Guidelines Manual in effect on the date that the defendant is sentenced applies. U.S.S.G. § 1B1.11(a)
       (Nov. 1993). Ewing was sentenced on December 23, 1993. Thus, references to the guidelines are to the
       November 1993 Guidelines Manual.




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3      The Supreme Court has recently held that generally the Sentencing Commission's commentary is to be given
       “ ‘controlling weight unless it is plainly erroneous or inconsistent with the [guideline,]’ ” and that the      section
       4B1.2 commentary is a “binding interpretation of the phrase ‘crime of violence.’ ”          Stinson v. United States,
       113 S.Ct. 1913, 1919–20 (1993).

4      Given the substantial similarity between the definitions for “violent felony” and “crime of violence” set forth in
          § 924(e)(2)(B) and guidelines      section 4B1.2(1), respectively, courts interpreting one phrase have found
       persuasive authority interpreting the other. See, e.g.,      United States v. De Jesus, 984 F.2d 21, 24 n. 6 (1st
       Cir.1993);    United States v. Preston, 910 F.2d 81, 86 n. 6 (3d Cir.1990), cert. denied, 498 U.S. 1103 (1991).

5      Because of the way we reach our holding, we need not consider the government's contention that the burglary
       of a parking structure connected to a dwelling qualifies as the burglary of a dwelling.



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